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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

BLAKE LIVELY,
                                                 Case No. 1:24-cv-10049-LJL
                  Plaintiff,                     (consolidated with 1:25-cv-00449-LJL)

            -v-

WAYFARER STUDIOS LLC, JUSTIN
BALDONI, JAMEY HEATH, STEVE
SAROWITZ, IT ENDS WITH US MOVIE LLC,
MELISSA NATHAN, THE AGENCY GROUP PR
LLC, JENNIFER ABEL, JED WALLACE, and
STREET RELATIONS INC.,

                  Defendants.

JENNIFER ABEL,

                  Third-Party Plaintiff,

            -v-

JONESWORKS LLC,

                  Third-Party Defendant.

WAYFARER STUDIOS LLC, JUSTIN
BALDONI, JAMEY HEATH, IT ENDS WITH US
MOVIE LLC, MELISSA NATHAN, JENNIFER
ABEL, and STEVE SAROWITZ,

                  Consolidated Plaintiffs,

-v-

BLAKE LIVELY, RYAN REYNOLDS, LESLIE
SLOANE, VISION PR, INC., and THE NEW
YORK TIMES COMPANY.

                  Consolidated Defendants.
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NOTICE OF PLAINTIFF BLAKE LIVELY’S MOTION FOR LEAVE TO SERVE THIRD
           PARTY DERVLA MCNEICE BY ALTERNATIVE SERVICE

       Plaintiff Blake Lively hereby moves for leave to serve third party Dervla Mcneice for the

pendency of the above-referenced action by alternative means, pursuant to Federal Rules of Civil

Procedure 4(e)(1), 4(e)(2), and 45, and New York Civil Practice Law and Rules §§ 308(1)–(5). In

support of this motion, Ms. Lively respectfully submits the accompanying memorandum of law,

the Declaration of Kristin E. Bender, and supporting Exhibits A, B, and C.



                                                       Respectfully submitted,

Dated: July 18, 2025                                   /s/ Kristin E. Bender

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